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       Chicago, IL 60602
 3     Tel: 312-224-4695
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 4     michael@agrusslawfirm.com
       Attorney for Plaintiff,
 5
       ANDREA MATUA

 6

 7                                  UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 8                                       SOUTHERN DIVISION
 9
       ANDREA MATUA,                                  )
                                                      )
10                                                    ) Case No.: 8:14-cv-00183-AG-AN
                      Plaintiff,
              v.                                      )
11                                                    )
                                                      ) NOTICE OF SETTLEMENT
12     THE MCKELLAR GROUP, LLC f/k/a                  )
       MCKELLER & ASSOCIATES GROUP,                   )
13                                                    )
       INC.,
                                                      )
14                                                    )
                      Defendant.                      )
15

16                                         NOTICE OF SETTLEMENT

17            Plaintiff, ANDREA MATUA (“Plaintiff”), through Agruss Law Firm, LLC, informs this
18     Honorable Court that the Parties have reached a settlement in this case. Plaintiff anticipates dismissing
19
       this case, with prejudice, within 30 days.
20

21                                           RESPECTFULLY SUBMITTED,
22
          DATED: April 7, 2014                 AGRUSS LAW FIRM, LLC
23

24

25
                                               By: /s/ Michael S. Agruss____
                                                  Michael S. Agruss
26                                                Attorney for Plaintiff

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 1                                            PROOF OF SERVICE

 2            I, Michael S. Agruss, state the following:
 3
               I am employed in Chicago, Illinois. I am over the age of 18, and am not a party to this action.
 4     My business address is 22 W. Washington Street, Suite 1500, Chicago, IL 60602. On April 7, 2014, I
       served the following documents:
 5
       NOTICE OF SETTLEMENT
 6
              On the parties listed below:
 7

 8
         EDWARD T. WEBER
         ed@weberlegal.com
 9       Law Offices of Edward T. Weber
         17155 Newhope Street, Suite H
10       Fountain Valley, California 92708
11
         Telephone: (657) 235-8359
         Attorney for Defendant
12       THE MCKELLAR GROUP, LLC f/k/a
         MCKELLER & ASSOCIATES GROUP,
13       INC.

14            By the following means of service:

15
       [X]    BY ELECTRONIC MAIL: I transmitted the document(s) listed above electronically to the e-
16
              mail address(es) listed above. I am readily familiar with the firm’s Microsoft Outlook e-mail
17            system, and the transmission was reported as complete, without error.

18     [X]    FEDERAL: I declare under penalty of perjury under the laws of Illinois that the above is true
              and correct.
19

20            Executed on April 7, 2014, in Chicago, Illinois.

21                                                  By:____/s/ Michael S. Agruss_____
                                                            Michael S. Agruss
22

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                                                           2
